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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

JAMES FICKEN, trustee,
SUNCOAST FIRST TRUST; and
SUNCOAST FIRST TRUST,

       Plaintiffs,

       vs.                                                     Case No.: 8:19-cv-01210
                                                               State Court Case No.: 19-003181-CI
CITY OF DUNEDIN, FLORIDA;
DUNEDIN CODE ENFORCEMENT BOARD;
MICHAEL BOWMAN, in his official capacity as Code
Enforcement Board Chairman; LOWELL SUPLICKI,
in his official capacity as Code Enforcement Board
Vice-Chair; ARLENE GRAHAM, in her official
capacity as a member of the Code Enforcement Board;
KEN CARSON, in his official capacity as a member
of the Code Enforcement Board; WILLIAM
MOTLEY, in his official capacity as a member
of the Code Enforcement Board; DAVE PAULEY,
in his official capacity as a member of the Code
Enforcement Board; and BUNNY DUTTON, in
her official capacity as a member of the Code
Enforcement Board,

       Defendants.
                                                       /

      JOINT MOTION TO CONTINUE JOINT FINAL PRETRIAL STATEMENT
              AND INCORPORATED MEMORANDUM OF LAW

       The parties write to jointly request a short extension of time for their joint final pretrial

statement. Under the Court’s current case-management order (ECF 17), counsel must meet in

person to discuss the statement by August 7, and they must submit the statement by August 18.

The parties respectfully request that these dates be extended to August 28 and September 8.

Separately, the parties also request that they be allowed to meet by video.
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                                        MEMORANDUM OF LAW

         The parties write to jointly request a short extension of time for their joint final pretrial

statement. Under the Court’s current case-management order (ECF 17), counsel must meet in

person to discuss the statement by August 7, and they must submit the statement by August 18.

The parties respectfully request that these dates be extended to August 28 and September 8. The

parties submit this memorandum of law in response to this Court’s order requiring same (ECF

61).

         Under Federal Rule of Civil Procedure 16(b)(4), a scheduling order may be modified for

good cause. Good cause for this extension exists because it will likely preserve the parties’

resources. Cross-motions for summary judgment are pending, and the parties believe that these

motions, rather than a trial, will very likely resolve this case. The subject-matter—the

constitutionality of fines the Defendants imposed on the Plaintiff and the Defendants’ process for

imposing them—is not fact intensive. Indeed, the parties agree on virtually all the facts that a

trial could resolve. Their disagreement is about the materiality of those facts, which is the kind of

legal issue often resolved on summary judgment. Thus, if the Court resolves the case on the

summary-judgment briefs, continuing the final pretrial statement could avoid the expense of

travel for an in-person meeting1 as well as thousands of dollars in attorney time. Even if not, the

Court’s ruling will likely significantly narrow the issues for trial, and a later conference could

allow the parties to focus the pretrial statement on just a handful of issues. A short extension

could thus help secure a more “just, speedy, and inexpensive determination” of the case. Fed. R.




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 As separately requested below, the parties also respectfully ask that they be released from the requirement that they
meet in person.
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Civ. P. 1; see also McCoy v. Erie Ins. Co., 204 F.R.D. 80, 82 (S.D. W.Va. 2001) (noting that

modification of a scheduling order to simplify a case does not offend Rule 16(b), which exists to

prevent “late attempts to complicate or change the nature of the case”).

       Other factors also weigh for a short extension. The parties do not believe this short

extension would inconvenience the Court. The statement would still be due a week before the

final pretrial conference, the same as pretrial briefs and deposition designations. And because the

parties do not seek a jury trial, the Court will not need to review voir dire questions, jury

instructions, or a verdict form. Rather, the Court will only be asked to review fairly short lists of

exhibits, witnesses, and agreed facts—lists expected to be even shorter if a denial of both

summary judgment motions narrows the issues. Additionally, the parties themselves agree that

they will not be prejudiced, and they have not sought any prior extensions. See Wright & Miller,

6A Fed. Prac. & Proc. Civ. § 1522.2 (3d ed.) (noting that these factors weigh in favor of

modifying scheduling orders). Finally, joint (or unopposed) extensions like this are commonly

granted in this district. See, e.g., Johnston v. Borders, No. 615CV936ORL40DCI, 2018 WL

4383056, at *1 (M.D. Fla. Sept. 14, 2018) (noting the grant of two in one case).

       The parties thus respectfully request that the deadlines to file the joint final pretrial

statement, and the conference to discuss it, be extended to August 28 and September 8.

Additionally, regardless of whether this request is granted or denied, the parties also respectfully

request that, because of the pandemic, this Court permit the parties to meet virtually, as opposed

to in-person, to conduct the conference.


       Respectfully submitted this 29th day of July 2020.

                                                      /s/ Ari S. Bargil
                                                      /s/ Jay Daigneault, Esq.
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  **Admitted Pro Hac Vice

  Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 29th day of July 2020, a true and correct copy of Joint

Motion to Continue Joint Final Pretrial Statement and Incorporated Memorandum of Law

was filed with the Clerk of the Court using the CM/ECF system, which will send a notice of

electronic filing to the following CM/ECF participants:

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                                     /s/ Ari S. Bargil
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